                Case 2:23-cr-00150-DJC Document 51 Filed 10/03/23 Page 1 of 4


 1 PHILLIP A. TALBERT
   United States Attorney
 2 ALEXIS KLEIN
   ROSS PEARSON
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:23-CR-00150 DJC
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                            FINDINGS AND ORDER
14   MARCUS MILLER,                                      DATE: October 5, 2023
     REGINALD JONES,                                     TIME: 9:00 a.m.
15   FELICIA SHAW,                                       COURT: Hon. Daniel J. Calabretta
     JIMMY VAN II, and
16   JAZZMINE CAMPBELL,
17                               Defendants.
18

19                                             STIPULATION

20         1.      This matter was set for status conference before the Honorable Daniel Calabretta on

21 October 5, 2023. ECF No. 47. Time has been excluded through and including October 5, 2023, as to all

22 of the above-captioned defendants. Id.

23         2.      By this stipulation, the parties request to set a status conference on January 18, 2024, at

24 9:00 a.m., and to exclude time between October 5, 2023, and January 18, 2024, under Local Code T4.

25         3.      The parties agree and stipulate, and request that the Court find the following:

26                 a)     Discovery associated with this case and produced to date includes reports and

27         photographs, which have been either produced directly to counsel and/or made available for

28         inspection and copying.

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:23-cr-00150-DJC Document 51 Filed 10/03/23 Page 2 of 4


 1                  b)     The government will be producing or making available additional discovery that

 2          is voluminous, as it includes cell phone extractions.

 3                  c)     Counsel for the defendants desire additional time to consult with their respective

 4          clients, review the current charges, conduct investigation and research related to the charges, to

 5          review and copy discovery for this matter, and to otherwise prepare for trial. Counsel for the

 6          defendants believe that the failure to grant the above-requested continuance would deny them the

 7          reasonable time necessary for effective preparation, taking into account the exercise of due

 8          diligence.

 9                  d)     The government joins the request to continue.

10                  e)     Based on the above-stated findings, the ends of justice served by continuing the

11          case as requested outweigh the interest of the public and the defendant in a trial within the

12          original date prescribed by the Speedy Trial Act.

13                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of October 5, 2023 to and including

15          January 18, 2024, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

16          Code T4] because it results from a continuance granted by the Court at defendants’ request on

17          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

18          best interest of the public and the defendant in a speedy trial.

19          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22          IT IS SO STIPULATED.

23 ///

24 ///

25 ///

26 ///

27 ///

28 ///

      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:23-cr-00150-DJC Document 51 Filed 10/03/23 Page 3 of 4

     Dated: October 2, 2023                        PHILLIP A. TALBERT
 1                                                 United States Attorney
 2                                                 /s/ ALEXIS KLEIN
                                                   ALEXIS KLEIN
 3                                                 ROSS PEARSON
                                                   Assistant United States Attorneys
 4

 5   Dated: October 2, 2023                        /s/ LINDA HARTER
                                                   LINDA HARTER
 6                                                 Counsel for Defendant
                                                   MARCUS MILLER
 7

 8   Dated: October 2, 2023                  By: /s/ DAVID FISCHER
                                                 DAVID FISCHER
 9                                               Counsel for Defendant
                                                 REGINALD JONES
10

11
     Dated: October 2, 2023                  By: /s/ PHILIP COZENS
12                                               PHILIP COZENS
                                                 Counsel for Defendant
13                                               FELICIA SHAW
14
     Dated: October 2, 2023                  By: /s/ TASHA CHALFANT
15                                               TASHA CHALFANT
                                                 Counsel for Defendant
16                                               JIMMY VAN II
17
     Dated: October 2, 2023                  By: /s/ KYLE KNAPP
18                                               KYLE KNAPP
                                                 Counsel for Defendant
19                                               JAZZMINE CAMPBELL
20

21

22

23

24

25

26

27

28

     STIPULATION REGARDING EXCLUDABLE TIME     3
     PERIODS UNDER SPEEDY TRIAL ACT
               Case 2:23-cr-00150-DJC Document 51 Filed 10/03/23 Page 4 of 4


 1                                                    ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court vacates the

 4 October 5, 2023, status conference and resets the matter for a status conference on January 18, 2024, at

 5 9:00 a.m. The Court also finds that based on the facts set forth in the parties’ stipulation, the failure to

 6 exclude time between October 5, 2023 and January 18, 2024, would deny counsel reasonable time

 7 necessary for effective preparation, taking into account the exercise of due diligence. The Court further

 8 finds that the ends of justice served by the continuance outweigh the best interests of the public and the

 9 defendant in a speedy trial. Time from October 5, 2023, to and including January 18, 2024, is excluded

10 from the computation of time within which the trial of this case must commence under the Speedy Trial

11 Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4.

12

13          IT IS SO FOUND AND ORDERED this 2nd day of October 2023.

14
                                                              /s/ Daniel J. Calabretta
15
                                                              THE HONORABLE DANIEL J. CALABRETTA
16                                                            UNITED STATES DISTRICT JUDGE

17

18

19

20

21

22

23

24

25

26

27

28

      STIPULATION REGARDING EXCLUDABLE TIME               4
      PERIODS UNDER SPEEDY TRIAL ACT
